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 8                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 9
      UNITED STATES OF AMERICA,
10
                             Plaintiff,                     3:17-CR-00062-LRH-CBC
11
      v.                                                    ORDER REGARDING
12
                                                           Stipulation To Extend Time To
      PETER JAMES CARIANI,                                 File Government’s Response To
13
                                                           Defendant’s Motion To
                             Defendant.                    Supplement
14

15                                                         (First Request)

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           The undersigned parties respectfully submit the following Stipulation for the Court’s
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     consideration.
18
           IT IS HEREBY STIPULATED AND AGREED, by and between undersigned
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     counsel for the government and undersigned counsel for the defendant, Peter James
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     CARIANI, that the time and date for filing the government’s Response to Defendant’ s
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     Motion to Supplement Expert Disclosures be enlarged and continued to on or before
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     November 2, 2020, and that the time and date for filing the defendant’s optional brief in
23
     Reply be enlarged and continued to on or before November 11, 2020.
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 1          This Stipulation is entered into for the following reasons:

 2          1.       Trial for this matter is set to commence on February 9, 2021. ECF No. 101.

 3          2.       On October 6, 2020, defendant Cariani filed a Motion to Supplement Expert

 4   Disclosures and for Daubert Hearing (ECF No. 102) (“Motion to Supplement”), seeking

 5   additional disclosures and an evidentiary hearing in connection with the government’s Rule

 6   16 Disclosure of Expert Witnesses.

 7          3.       The date for filing the government’s Response to the Motion to Supplement is

 8   presently set for on or before October 20, 2020.

 9          4.       The government requires additional time to file its response in light of the press

10   of government’s counsels’ docket and trial schedule and therefore requests an extension of

11   time to file its Response to on or before November 2, 2020. The additional thirteen days

12   requested herein will not affect the current trial setting or other scheduling dates or matters set

13   in this case.

14          5.       In light of any extension of time granted for the government’s Response,

15   defendant Cariani seeks an extension of time to file an optional Reply to on or before

16   November 11, 2020.
17          6.       This is the first request for an extension of time in connection with the Motion
18   to Supplement and the parties do not anticipate further requests.
19          WHEREFORE, the parties respectfully request that the Court accept their Stipulation
20   and enter an Order extending the time for the filing of the Government’s Response to the
21   Motion to Supplement (ECF No. 102) to on or before November 2, 2020, and the filing of
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     any optional Reply to on or before November 11, 2020.
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 1         DATED this 15th day of October, 2020.

 2                                       Respectfully submitted,

 3
     NICHOLAS A. TRUTANICH
 4   United States Attorney

 5   /s/ Steven W. Myhre                                     /s/ Crane M. Pomerantz
     _____________________________                           ___________________________
 6   STEVEN W. MYHRE                                         CRANE M. POMERANTZ, Esq.
     RANDOLPH J. ST. CLAIR                                   JANICE A. HUBBARD, Esq.
 7   Assistant United States Attorneys                       Counsel for Peter James CARIANI
     Attorneys for the United States
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10         IT IS SO ORDERED this _____
                                 16th day of October, 2020.

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12                                                     _______________________________
                                                       LARRY R. HICKS
13                                                     UNITED STATES DISTRICT JUDGE

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